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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

PARAGON OFFICE SERVICES, LLC, and              )
PARAGON AMBULATORY PHYSICIAN                   )
SERVICES, LLC, and OFFICE SURGERY              )
SUPPORT SERVICES, LLC, and                     )
AMBULATORY HEALTH SYSTEMS,                     )              Case No. 3:11-CV-02205-D
LLC                                            )
                        Plaintiffs,            )              Hon. Sidney A. Fitzwater
           v.                                  )
                                               )
UNITEDHEALTHCARE INSURANCE                     )
COMPANY, INC.,                                 )
UNITEDHEALTHCARE OF TEXAS, INC.,               )
UNITEDHEALTHCARE BENEFITS OF                   )
TEXAS, INC., and INGENIX, INC.,                )
                                               )
                                               )

       Defendants.

                          NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) and the agreement of

Defendants UnitedHealthCare Insurance Company, Inc., UnitedHealthCare of Texas, Inc.,

United HealthCare Benefits of Texas Inc., and Ingenix, Inc. (collectively, “United”), Plaintiffs

Paragon Office Services, LLC, Paragon Ambulatory Physician Services, LLC, Office Surgery

Support Services, LLC, and Ambulatory Health Systems, LLC hereby give notice of the

voluntary dismissal of United from this action with prejudice and without costs or fees to any

party. United has not served an answer or a motion for summary judgment in this action.

Respectfully submitted,

                                                   By: _/s/_Steven M. Smith_____

                                                       Martin E. Rose
                                                       State Bar No. 17253100
                                                       Steven M. Smith
                                                       State Bar No. 24013537
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                               CERTIFICATE OF SERVICE

        I hereby certify that on January __, 2014, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to
all counsel of record.

                                                   /s/ Steven M. Smith
                                                   Attorney for Plaintiffs
